Case 2:17-cv-02575-DMG-PLA Document 4 Filed 04/04/17 Page 1 of 2 Page ID #:15



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 10                 IN THE UNITED STATES DISTRICT COURT FOR THE
 11                          CENTRAL DISTRICT OF CALIFORNIA
 12    CHRISTOPHER PHILLIPS,                   )   CASE NO. 2:17-cv-02575
 13                                            )
                           Plaintiffs,         )   (to be related to
 14                                            )   2:15-cv-05559-DMG-PLA)
             vs.                               )
 15                                            )
       MCCARTHY, BURGESS &                     )         NOTICE OF RELATED CASES
 16    WOLFF, INC,                             )
       and DOES 1 to 10, inclusive,            )                   [LR 83-1.3]
 17                                            )
                      Defendants.              )
 18    ___________________________             )

 19
         TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 20
         In accordance with Local Rule 83.1.3, Plaintiff CHRISTOPHER PHILLIPS
 21
      files this Notice of Related Cases. The instant case, Phillips v. McCarthy, Burgess &
 22
      Wolff, Inc, 2:17-cv-02575, calls for a determination of the same or substantially
 23
      identical questions of law and fact and, therefore, is likely to entail substantial
 24
      duplication of labor, factual application, and legal analyses as in the prior case Phillips
 25
      v. Archstone Simi Valley LLC, et al., Case No. 2:15-cv-05559-DMG- PLA (Cal.
 26
      Central District) (hereinafter, “Prior Case”).
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                                         Notice of Related Cases
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  1      1.   These Cases Should Be Related Because They Arise from the Same or a
  2           Closely Related Transaction, Happening, or Event
  3      Both cases involve debt collection of back-rent, attorney fees, late fees, and other
  4   charges arising from the same unlawful detainers. The court in Prior Case has ruled on
  5   motions for judgment on the pleadings (doc126) and motions for summary judgment
  6   (doc174) which have determined the invalidity of the debt for purposes of debt
  7   collection under the Fair Debt Collection Practices Act.
  8      2.   Interests of Judicial Economy, and Consistency, the Two Cases Should Be
  9           Related
 10      Identical legal issues are presented by these two cases and litigating them
 11   separately will create a substantial duplication of labor if heard by different judges. In
 12   the Prior Case, Judge Dolly Gee recently ruled on the invalidity of the debt which is
 13   the very issue presented in the instant case and she is already familiar with the law and
 14   the facts. Although a final judgment is pending in the Prior Action, having another
 15   judge become familiar with the issues, when Judge Gee already is, will result in a
 16   substantial and expensive duplication of labor, and could result in inconsistent rulings.
 17

 18      Accordingly, these are Related Cases for the purposes of Local Rule 83.1.3.
 19

 20   Dated: April 4, 2017                    LAW OFFICE OF LOUIS P. DELL
 21
                                              /s/ Louis P. Dell
 22                                           Louis P. Dell, Esq.
                                              Attorney for Plaintiff,
 23                                           CHRISTOPHER PHILLIPS
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                                      Notice of Related Cases
